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                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MINNESOTA

Brock Fredin,

      Plaintiff,

      v.                                       Case No. 0:20-cv-01929-SRN-HB

Jamie Kreil,

      Defendant.




           Jamie Kreil’s Response Regarding Brock Fredin’s Compliance
                    with the Court’s November 23, 2020 Order

       As directed by the Court in its January 8, 2020 Order (Dkt. 110), Jamie Kreil

submits as follows concerning Brock Fredin’s compliance with the Court’s Order

(Dkt. 39) dated November 3, 2020. In sum, Fredin has partially complied with

that Order. But he still has not complied fully, despite the Court’s warnings and

Fredin’s assertion of compliance in his recent Declaration (Dkt. 123).

       As of the filing of this Response, Fredin has removed the harassing videos

that were subject to the Court’s Order (Dkt. 39) from his “Judicial Protest”

YouTube channel. He has further password protected most—but not all—of his

harassing websites, shielding their contents from public view. It is unclear

whether and to whom these websites may still be visible with a password.
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      The one exception of which Kreil’s counsel is aware is the website Fredin

created attacking Judge Nelson (susanrichardnelson.com), which remains

publicly available as of the filing of this Response. See Lockner Decl. ¶ 2, Ex. A.

Fredin created this website in (deliberate) violation of the Court’s November 23,

2020 Order, as the Court has previously observed. See Order (Dkt. 71) at 3, 7.

Given the Court’s Orders, as well as the fact that Fredin removed the YouTube

video he created to accompany this website and parrot its content, Fredin plainly

is on notice and understands that the website falls within the scope of the Court’s

November 23, 2020 Order. Accordingly, while he has now complied in part,

Fredin remains in contempt of the Court’s November 23, 2020 Order.

DATED: February 5, 2021               ROBINS KAPLAN LLP

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